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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA


   ONTEL PRODUCTS                                  Case No.: 1:24-cv-20609
   CORPORATION,

         Plaintiff,

   v.

   EHT LLC,

         Defendant.



        NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
                PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)

        Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure,
  Plaintiff, ONTEL PRODUCTS CORPORATION, by and through its counsel of
  record, Dickinson Wright PLLC, hereby gives notice that the above-captioned action
  is voluntarily dismissed without prejudice.
        This Notice of Voluntary Dismissal is filed before Defendant EHT LLC
  served either an answer or a motion for summary judgment.
  Date: June 7, 2024                        Respectfully submitted,

                                            DICKINSON WRIGHT PLLC

                                     By:    /s/ Alan J. Perlman
                                            Alan J. Perlman
                                            Florida Bar No. 826006


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                                          350 East Las Olas Boulevard, Suite 1750
                                          Fort Lauderdale, Florida 33301
                                          Direct: (954) 991-5427
                                          Office: (954) 991-5420
                                          Facsimile: (844) 670-6009
                                          aperlman@dickinsonwright.com

                                          John S. Artz (admitted pro hac vice)
                                          350 S. Main Street, Ste 300
                                          Ann Arbor, MI 48104
                                          (248) 433-7262
                                          jsartz@dickinsonwright.com

                                          Kevin D. Everage (admitted pro hac
                                          vice)
                                          3883 Howard Hughes Pkwy, Ste 800
                                          Las Vegas, NV 89169
                                          (702) 550-4426
                                          keverage@dickinsonwright.com

                                          Attorneys for Plaintiff

                            CERTIFICATE OF SERVICE

       I hereby certify that on June 7, 2024, the foregoing was electronically filed

 with the Clerk of the Court using the ECF system, which will send notification of

 such filing to all counsel of record.



 Date: June 7, 2024                           /s/ Alan J. Perlman
                                              Alan J. Perlman, Esq.
                                              Florida Bar No. 826006



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